            Case 7:20-cr-00365-PMH Document 16 Filed 10/21/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR TELE CONFERENCE

                             -against-                                          Dkt. No 20-CR-366 (PMH)
                                                                                       20-CR-00365

Terry Leon Duncan
                             Defendant(s).
-----------------------------------------------------------------X

Defendant Terry Leon Duncan hereby voluntarily consents to participate in the following
proceeding via teleconferencing:

9        Initial Appearance Before a Judicial Officer

         Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

9       Guilty Plea/Change of Plea Hearing

9        Bail/Detention Hearing

x9       Conference Before a District Judge



     Terry Leon Duncan
_______________________________                                      _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
Terry Leon Duncan                                                    Lloyd Epstein
_____________________________                                        _________________________________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

October 20, 2020
___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
